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6                          IN THE UNITED STATES DISTRICT COURTS

7                        FOR THE EASTERN DISTRICT OF CALIFORNIA

8                       AND THE NORTHERN DISTRICT OF CALIFORNIA

9    RALPH COLEMAN, et al.,

10                Plaintiffs,              No. CIV S-90-0520 LKK JFM P (E.D.Cal.)

11         vs.

12   ARNOLD SCHWARZENEGGER,
     et al.,
13
                  Defendants.
14                                     /

15   MARCIANO PLATA, et al.,

16                Plaintiffs,              No. C 01-1351 TEH (N.D.Cal.)

17         vs.

18   ARNOLD SCHWARZENEGGER,
     et al.,
19
                  Defendants.
20                                 /

21   CARLOS PEREZ, et al.,

22                Plaintiffs,              No. C 05-05241 JSW (N.D.Cal.)

23         vs.

24   JAMES TILTON, et al.,                 ORDER

25                Defendants.

26                                 /

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1                   The Receiver in Plata, the Special Master in Coleman, and the Court

2    Representatives in Perez have presented to the judges in the above-captioned cases six

3    agreements that they have reached during the coordination meetings that they have held to date.

4    The agreements, which are attached to this order, are presented to the undersigned for review and

5    approval. The undersigned are aware that there is a hearing scheduled on June 1, 2007 in the

6    Perez matter with respect to increasing dental salaries and a hiring and management plan. All

7    parties are advised that this hearing shall go forward and the motion shall be considered on its

8    own merits.

9                   Good cause appearing, IT IS HEREBY ORDERED that the parties in the above-

10   captioned cases are granted until June 15, 2007 to file and serve a response to the request for

11   court approval of these agreements. Any response to this order shall be filed in each of the

12   above-captioned cases and served on all of the parties to all of the cases and on the Receiver, the

13   Special Master, and the Court Representatives. Thereafter, the request for approval of the

14   agreements will be taken under submission for individual and joint consideration by the

15   undersigned.

16   DATED: 5/29/07

17
                                                          LAWRENCE K. KARLTON
18                                                        SENIOR JUDGE
                                                          UNITED STATES DISTRICT COURT
19                                                        EASTERN DISTRICT OF CALIFORNIA

20   DATED: 5/29/07
                                                          /s/
21                                                        THELTON E. HENDERSON
                                                          UNITED STATES DISTRICT JUDGE
22                                                        NORTHERN DISTRICT OF CALIFORNIA

23   DATED: 5/29/07
                                                          /s/
24                                                        JEFFREY S. WHITE
                                                          UNITED STATES DISTRICT JUDGE
25                                                        NORTHERN DISTRICT OF CALIFORNIA

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1                                              CIM-GACH

2                    The Receiver and the Special Master have agreed that the General Acute Care
     Hospital (GACH) license at the California Institute for Men (CIM) should be suspended. The
3    physical unit will remain open and house 40-45 Mental Health Crisis Beds (MHCBs). Staffing
     levels will not change for mental health care.
4
                     The Receiver and the Special Master are concerned that defendants will not be
5    allowed to operate MHCBs in unlicensed facilities. A state court decision, Budd, et al. v.
     Cambra, et al., Case No.319578, required the California Department of Corrections and
6    Rehabilitation (CDCR) to bring its correctional treatment centers (CTCs) into compliance with
     state law licensing requirements. Counsel for the parties may argue that Budd requires
7    defendants to provide inpatient health services to inmates presently below an acute level of care
     in a licensed facility.
8
                    The Coleman Special Master has agreed to explore whether a CTC license is
9    necessary to operate a MHCB. If such a license is necessary, the Special Master will seek an
     emergency order from the Coleman Court to allow for the operation of the MHCBs at CIM, as
10   was done in the case of CMC.

11                    On May 1, 2006, when faced with a MHCB crisis, the Coleman Court ordered the
     establishment of 36 MHCBs in the former locked observation unit (LOU) at California Men’s
12   Colony (CMC). The LOU at CMC had been closed and reopened as an outpatient housing unit,
     in light of Budd. The Coleman Court stated that until further notice and on a temporary
13   emergency basis “defendants shall not close any intermediate inpatient bed or mental health crisis
     bed on the basis of state licensing requirements without approval of the special master.” In its
14   order, the Court stated that “it is essential to provide immediately mental health crisis beds to
     critically ill inmates in the CDCR…Under present circumstances, state licensing requirements
15   must temporarily give way to measures necessary to remedy the Eighth Amendment violations
     that remained unsolved in this action.” (See Coleman Order dated May 1, 2006, document
16   number 1800).

17                  The purpose of the order was to provide, on an interim basis, sufficient temporary
     MHCBs until the 50-bed MHCB projects at CMF and CMC were completed. Allowing the
18   license to remain for the 40-45 agreed upon MHCBs at CIM-GACH could possibly avoid
     Budd-driven complications.
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2                                               Contracts

3                    Effective April 17, 2006 the Receiver assumed responsibility for overseeing the
     State’s compliance with the Federal Court’s mandate (1) that “all current outstanding, valid, and
4    CDCR-approved medical invoices” be paid within 60 days of March 30, 2006; and (2) that under
     the direction of the Receiver, the CDCR and State entities responsible for contracts develop and
5    institute health care-oriented policies and standards to govern the CDCR medical contract
     management system considering both the need for timely on-going care and the fiscal concerns of
6    the State.

7                    The Receiver has created a Contract Pilot Unit that includes personnel from
     CDCR’s Office of Business Services, staff who now report directly to the Office of the Receiver
8    through the Plata Support Division. In addition, selected personnel from the Health Care
     Operations Support Section of the DCHCS, as well as personnel from the Health Care Cost and
9    Utilization Program have been added to the Pilot, as have staff at four prisons (San Quentin State
     Prison, Pelican Bay State Prison, California Medical Facility, and the Central California
10   Women’s Facility) and two Regional Accounting Offices (North Coast and Corcoran). Upon
     successful completion of the Pilot, the new streamlined contract procurement and payment
11   policies established by the Pilot will be adopted by all CDCR facilities according to a time-phase
     schedule which has not yet been determined.
12
                   These new policies are supported by a newly created, computerized Health Care
13   Document Management System (HCDMS) which will manage all medical contracts, replacing
     the former paper based system. The HCDMS has three primary components in that it:
14
                • Assists CDCR staff by utilizing uniform contract templates for the creation of
15                contracts that do not permit deviation from health care policies and standards.
                • Stores all health care contracts in a database accessible to all authorized users.
16              • Establishes an effective payment system designed to receive, store and
                  communicate invoices electronically. By computerizing all contracts and
17                invoices, the HCDMS eliminates the time spent transferring paper copies
                  throughout CDCR and electronically prints invoices with their governing
18                contracts for faster information retrieval.

19                   The Receiver will assume responsibility for direct oversight of the contracting
     functions for medical, dental and mental health programs. The Coleman Special Master and
20   Perez Court appointed experts will participate in the design and implementation of periodic
     reports to monitor the status of contract management. The Coleman Special Master and Perez
21   Court appointed experts, along with defendants’ mental health and dental administrators, will
     also be involved in establishing standards (including proposed rates of reimbursement for
22   contract clinicians) for registry contracts within their respective areas of concern.

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2                                               Credentialing

3                     Credentialing is the process of obtaining, verifying, and assessing the
     qualifications of an applicant to provide patient care, treatment, and services in a California
4    Department of Corrections and Rehabilitation (CDCR) medical facility. The credentials review
     process is the basis for making appointments to the clinical staff; it also provides information for
5    granting clinical privileges to licensed independent practitioners. The purpose of verifying
     credential data is to ensure that the individual requesting privileges is in fact the same individual
6    that is identified in the credentialing documents. In addition, it is to ensure that the applicant has
     attained the credentials as stated, that the credentials are current, and that there are no challenges
7    to any of the credentials.

8                   Privileging is the process used to grant to a specific practitioner the authorization
     to provide specific inmate-patient care services. Privileging ensures that the individual is capable
9    of providing those services in accordance with the standard of care of the Division of
     Correctional Health Care Services (DCHCS).
10
                     These processes are performed at time of appointment and at least every two years
11   to ensure the credentials remain current. Final approvals of credentialing/privileging are made by
     the chief of either the medical, dental or mental health programs as appropriate.
12
                     These functions are currently performed by the Division of Correctional Health
13   Care Services Pre-Employment Credential Unit which consists of three positions. These
     positions are all classified as Staff Services Analyst/Associate Governmental Program Analyst.
14   The Receiver will assume responsibility for the credentialing/privileging functions for the
     medical, mental health, and dental programs to include direct oversight of the Pre-Employment
15   Credential Unit.

16                  The Coleman Special Master and the Perez Court experts will consult with the
     defendants’ mental health and dental administrators and will participate in, and have final
17   approval of, the establishment of credentialing/privileging standard within their respective
     disciplines.
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2                                                 Hiring

3                    The Receiver has established the Plata Support Division to provide administrative
     support for the reform initiatives he has established. The Personnel Services and Staff
4    Development Section have implemented new recruiting and hiring programs to improve the
     retention of medical staff (including creating new or revising current job classifications,
5    implementing salary increases for specified classifications, designing new hiring and on-boarding
     processes, establishing training programs for institution personnel staff and for new supervisors,
6    and improving the credentialing process of medical staff). This section has assumed full
     responsibility for all human resources-related functions for the Plata classifications, removing
7    those functions from the CDCR’s Support Services Division.

8                   The Plata Workforce Development Section is working to recruit and hire
     additional medical professionals to fill the many vacancies that exist throughout California’s
9    prison system. To ensure that proactive steps are taken on a daily basis to fill medical
     professions vacancies in an expeditious manner, a pilot for “one-day hiring” was rolled out
10   February 22, 2007.

11                 The Receiver will assume responsibility for hiring of medical personnel only.
     However, Plata Support Division staff will provide consultation to the Coleman Special Master
12   and Perez Court experts, as well as to defendants’ mental health and dental administrators, on
     recruitment and hiring practices.
13
                   The Receiver will consider assuming responsibility for hiring dental and mental
14   health personnel only after:

15                  •      The Plata hiring programs are fully implemented and the future workload
                           has been assessed.
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2                                                      IT

3                    The objective of the Receiver’s long term IT program is to construct and support
     the California Correction Health Care Information System based on the importance of “correct
4    data at the point of care.” The core design is based on an Electronic Medical Record (EMR) for
     each inmate/patient. The EMR will be paperless, medical information gathered in one location
5    for physicians and clinicians to access, at various locations, and thereby enable them to make
     informed and safe medical decisions. All data obtained will be patient centric to allow for an
6    “Information at the Point of Care” system.

7                     To support the establishment of an EMR, a foundation will be formed. It will
     contain four components: 1) technical infrastructure, 2) clinical infrastructure, 3) data
8    infrastructure, and 4) operational infrastructure. The technical infrastructure will provide a
     high-speed connection to a network of multiple sites. The clinical infrastructure will provide a
9    repository of standardized data through verifiable data processes and compile medical data across
     all compliant data sources into a unified database that can be used to generate information
10   valuable for patient care and healthcare management. The data infrastructure will implement a
     secure clinical web-based portal tool that allows clinical staff appropriate access to verified and
11   standardized patient data at the point of care or clinical work areas (i.e. university hospitals, local
     specialty care centers). The operational infrastructure will provide clinical informatics with a
12   near zero fault tolerance system to support various operations (i.e. Maxor Pharmaceuticals).
     Upon this foundation, the EMR will be supported by uniform clinical data provided by two types
13   of clinical information systems: 1) clinical business systems and 2) clinical systems. The
     Clinical Business System will sustain such areas as access tracking, scheduling, correctional
14   interface, clinical resource scheduling, clinical contracting, credentialing, and CME (define
     acronym) verification. The clinical systems will sustain such areas as laboratory, radiology,
15   pharmacy, clinical department workflow, telemedicine, digital imaging, dental systems and
     mental health systems.
16
                    Based on these systems the EMR will facilitate:
17
                    •       a clinical data warehouse
18                  •       views on data - patient, clinician, administrator portals and reports
                    •       integrated patient care at the a regional level
19                  •       clinical/case management and outcome reporting
                    •       chronic disease registries
20                  •       enterprise wide/common scheduling
                    •       supported clinical decisions
21                  •       cost effective and timely patient-centered care
                    •       telemedicine delivery
22
                    The Receiver will assume responsibility for implementation of the long term IT
23   program to include the medical, dental and mental health programs. The Coleman Special
     Master, the Perez Court experts, and defendants’ mental health and dental administrators will be
24   kept informed of the progress of this long range project and will provide necessary input
     concerning mental health and dental clinical data needs.
25
                   Telemedicine is a critical component of the Receiver’s plan to bring the California
26   Prison Health Care system to a constitutional standard. The Receiver has determined that the

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1    current Telemedicine program managed by the Division of Correctional Health Care Services
     (DCHCS) has been mismanaged resulting in lack of utilization and understaffing. The Receiver
2    will assume responsibility for the telemedicine program serving the medical, dental and mental
     health programs to include direct oversight of the office of telemedicine services comprised of
3    eight personnel (4 RNs, 2 SSAs, 1 HRT II, and 1 TCA II). The Coleman Special Master will
     consult with defendants’ mental health administrators to assist in establishing clinical guidelines
4    for the mental health component of the telemedicine program.

5                  The Receiver will assume responsibility to support the current Mental Health
     Tracking System until it can be integrated into the long term IT program.
6
                    The Perez Court experts will meet with the Receiver’s IT staff to determine:
7
                    •       Whether the “intermediate” dental IT system ordered by Judge White can
8                           be implemented within the prescribed time constraints?
                    •       If it cannot be implemented as directed, whether the Court experts should
9                           seek a modification of the court order to integrate the dental IT system
                            within the infrastructure and timeline of the long term IT program?
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2                                               Pharmacy

3                    In late 2006 the Office of the Receiver entered into an agreement with Maxor
     National Pharmacy Services Corporation (Maxor) to provide pharmacy management consulting
4    services. That contract was effective January 1, 2007. On March 30, 2007 the Receiver’s
     request for an order nunc pro tunc to waive state law applicable to this agreement was granted by
5    the Court.

6                    Maxor has developed a “road map” designed to restructure and manage a
     constitutionally adequate pharmacy services delivery system. The primary objective of the road
7    map is to produce sustainable, patient-centered, outcome-driven processes, with the ultimate goal
     of creating a CDCR-managed and operated “best practice” pharmacy system within three years.
8    The road map consists of the following interior goals for pharmacy operations that will serve
     medical, dental and mental health delivery systems:
9
                    •      Develop meaningful and effective centralized oversight, control and
10                         monitoring of the pharmacy services program.
                    •      Implement and enforce clinical pharmacy management processes including
11                         formulary controls, Pharmacy and Therapeutics (P&T) committee, disease
                           management guidelines, and the establishment of a program of regular
12                         institutional operational audits.
                    •      Establish a comprehensive program to review, audit and monitor
13                         pharmaceutical contracting and procurement processes to ensure cost
                           efficiency in pharmaceutical purchases.
14                  •      Develop a meaningful pharmacy human resource program that effectively
                           manages staffing, compensation, job descriptions, competency,
15                         performance, assessment, discipline, training, and use of the workforce
                           including temporary employees and non-pharmacist staff.
16                  •      Redesign and standardize overall institution level pharmacy drug
                           distribution operations for inpatient and outpatient needs. Design,
17                         construct and operate a centralized pharmacy facility.
                    •      Design and implement a uniform pharmacy information management
18                         system needed to successfully operate and maintain the CDCR pharmacy
                           operation in a safe, effective and cost efficient way, based on a thorough
19                         understanding of a redesigned work process.
                    •      Develop a process to assure that CDCR pharmacy meets accreditation
20                         standards of the designated healthcare review body (NCCHC or ACA) and
                           assist in obtaining accredited status.
21
                    The Receiver through Maxor will assume oversight of pharmacy operations
22   serving medical, dental and mental health programs. Coleman and Perez Court appointed
     experts will consult with defendants' mental health and dental administrators and participate in
23   the P&T committee in development of formularies within their respective areas of concern.
     Maxor will provide periodic reports to the Receiver, the Coleman Special Master and the Perez
24   Court appointed experts concerning road map compliance.

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